Case 6:20-cv-01380-RRS-CBW Document 21 Filed 10/13/21 Page 1 of 1 PageID #: 123



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTMCT OF LOUISIANA
                                  LAFAYETTE DIVISION


 CEDRICKPELLERIN,ETAL. CASE NO. 6:20-CV-01380

 VERSUS JUDGE ROBERT R. SUMMERHAYS

 LAFAYETTE CONSOLIDATED MAG. JUDGE CAROL B. WHITEHURST
 GOVERNMENT, ET AL.

                                          JUDGMENT

        This matter was referred to United States Magistrate Judge Carol B. Whitehurst for report


 and recommendation. After an independent review of the record, and noting the absence of any


 objections, this Court concludes that the Magistrate Judge's report and recommendation is correct


 and adopts the findings and conclusions therein as its own. Accordingly,


        IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the report and

 recommendation, Lafayette Police Department's Motion to Dismiss pursuant to Rule 12(b)(6)


 (Rec. Doc. 11) is GRANTED, and Plaintiffs claims against Lafayette Police Department are

 hereby DISMISSED.
                                              -^
        Signed at Lafayette, Louisiana, this I ^ ' day of October, 2021.




                                             ROBERT R. SUMMERHAYS \
                                             UNITED STATES DISTRICT JUDGE
                                                                        ~\
